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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF CONNECTICUT


JACK MONTAGUE                                      :
                                                   :
         Plaintiff                                 :             CIVIL ACTION NO.:
                                                   :             3:16-CV-00885-AVC
vs.                                                :
                                                   :
YALE UNIVERSITY, ET AL                             :
                                                   :
         Defendants                                :             OCTOBER 2, 2017



        NOTICE OF FILING COMPLIANCE TO REQUESTS FOR PRODUCTION

         The Defendant, Yale University, hereby gives notice that it has filed Responses and

Objections to the Plaintiff’s Fourth Request for Production of Documents dated September 8,

2017, on this date.



                                            THE DEFENDANTS,
                                            YALE UNIVERSITY, ANGELA GLEASON
                                            and JASON KILLHEFFER



                                              BY: ___ /s/ Patrick M. Noonan (#300177)
                                                   Patrick M. Noonan
                                                   Colleen Noonan Davis
                                                   Donahue, Durham & Noonan, P.C.
                                                   741 Boston Post Road
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  Case 3:16-cv-00885-AVC Document 118 Filed 10/02/17 Page 2 of 2




                                     CERTIFICATION

         I hereby certify that, on the above-written date, a copy of the foregoing Notice was
filed electronically and served by mail on anyone unable to accept electronic filing. Notice of
this filing will be sent by e-mail to all parties by operation of the court’s electronic filing
system or by mail to anyone unable to accept electronic filing as indicated on the Notice of
Electronic Filing. Parties may access this filing through the court’s CM/ECF System.




                                                                   /s/
                                                           Patrick M. Noonan




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